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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
In re                                                          : Chapter 11
                                                               :
MADISON SQUARE BOYS & GIRLS CLUB,                              : Case No. 22-10910-shl
INC.1,
                                                               :
                           Debtor.                             :
                                                               :
---------------------------------------------------------------X

                                     CERTIFICATE OF SERVICE

    STATE OF CALIFORNIA                          )
                                                 )
    COUNTY OF SAN FRANCISCO                      )

         I, Patricia Jeffries, am over the age of eighteen years, am employed by Pachulski Stang

Ziehl & Jones LLP. I am not a party to the within action; my business address One Market

Plaza, Spear Tower, 40th Floor, San Francisco, CA 94105-1020.

         On August 9, 2022, in addition to service via the Court’s ECF system, I caused a true and

correct copy of the following documents to be served via electronic mail upon the parties set

forth on the service list annexed hereto as Exhibit 1 and via First Class US Mail upon the parties

set forth on the service list annexed hereto as Exhibit 2:

      Motion of the Official Committee of Unsecured Creditors for Entry of an Order Pursuant
       to Bankruptcy Rule 2004 Authorizing Examinations and Production of Documents of
       Certain Insurers [Docket No. 111]; and

      Motion for Order Shortening Notice With Respect to Motion of the Official Committee of
       Unsecured Creditors for Entry of an Order Pursuant to Bankruptcy Rule 2004
       Authorizing Examinations and Production of Documents of Certain Insurers [Docket
       No. 112]




The last four digits of the Debtor’s federal tax identification number are 6792. The Debtor’s mailing address is 250
1

Bradhurst Avenue, New York, New York 10039.


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         I declare under penalty of perjury, under the laws of the State of California and the

United States of America that the foregoing is true and correct.

Dated this 9th day of August, 2022.



                                                       /s/ Patricia Jeffries
                                                       Patricia Jeffries




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                                             EXHIBIT 1

              NAME                           NOTICE NAME                          EMAIL
ABRAHAM, WATKINS, NICHOLS,         ATTN AGOSTO & AZIZ; MUHAMMAD        INFO@ABRAHAMWATKINS.COM
SORRELS,                           S. AZIZ
BLEAKLEY PLATT & SCHMIDT, LLP      ATTN WILLIAM HARRINGTON, ADAM       WPHARRINGTON@BPSLAW.COM;
                                   RODRIGUEZ                           ARODRIGUEZ@BPSLAW.COM
CHUBB GROUP                        ATTN ADRIENNE LOGAN, LEGAL          ADRIENNE.LOGAN@CHUBB.COM
                                   ANALYST
COHEN & GRESSER LLP                ATTN DAVID F LISNER                 DLISNER@COHENGRESSER.COM
CROWELL & MORING LLP               ATTN: GREGORY GENNADY PLOTKO        GPLOTKO@CROWELL.COM
CROWELL & MORING LLP               ATTN: MARK D. PLEVIN                MPLEVIN@CROWELL.COM
CROWELL & MORING LLP               ATNN: RACHEL A. JANKOWSKI           RJANKOWSKI@CROWELL.COM
DUANE MORRIS LLP                   ATTN: DREW S. MCGEHRIN, WENDY       DSMCGEHRIN@DUANEMORRIS.CO
                                   M. SIMKULAK                         M;

                                                                       WMSIMKULAK@DUANEMORRIS.CO
                                                                       M
GRANT & EISENHOFER, P.A.           ATTN BARBARA J. HART, IRENE LAX,    BHART@GELAW.COM;
                                   SAMANTHA BREITNER                   ILAX@GELAW.COM;
                                                                       SBREITNER@GELAW.COM
GRANT & EISENHOFFER P.A.           ATTN: GORDON Z. NOVOD               GNOVOD@GELAW.COM
HARNICK AND HARNICK, P.C.          ATTN ROBERT HARNICK                 RHARNICK@HARNICKLAW.COM;
                                                                       THARNICK@HARNICKLAW.COM
HERMAN LAW FIRM, PA                ATTN J. HERMAN, D. ELLIS, S.        JHERMAN@HERMANLAW.COM
                                   MERMELSTEIN, JASON S. SANDLER,
                                   ALEXANDRA SLATER
KUTAK ROCK LLP                     ATTN: MICHAEL A. CONDYLES, PETER    PETER.BARRETT@KUTAKROCK.COM
                                   J. BARRETT
LEVY KONIGSBERG LLP                ATTN RENNER K. WALKER, COREY M.     INFO@LEVY-LAW.COM;
                                   STERN, ANNA KULL, MATTHEW J.        CSTERN@LEVYLAW.COM;
                                   SHOCK                               RWALKER@LEVYLAW.COM;
                                                                       AKULL@LEVYLAW.COM;
                                                                       MSHOCK@LEVYLAW.COM
MARCOWITZ LAW FIRM                 ATTN EDWARD L.C. MARCOWITZ          ED@MARCOWITZLAW.COM
MERSON LAW, PLLC                   ATTN JORDAN K. MERSON,              JMERSON@MERSONLAW.COM;
                                   GIOVANNA MABILE                     GMABILE@MERSONLAW.COM
OFFICE OF THE ATTORNEY GENERAL     ATTN LETITIA JAMES, E. GONZALEZ &   ELENA.GONZALEZ@AG.NY.GOV;
                                   E.LYNCH                             ELIZABETHM.LYNCH@AG.NY.GOV
PAUL, WEISS, RIFKIND, WHARTON &    ATTN: ALAN K. KORNBERG, ESQ.,       AKORNBERG@PAULWEISS.COM;
GARRISON LLP                       ANDREW M. PARLEN, E.                APARLEN@PAULWEISS.COM;
                                   JOHN, T WEBER, ESQ.                 JWEBER@PAULWEISS.COM
PFAU COCHRAN VERTETIS AMALA        ATTN VINCENT T. NAPPO, ANGELA       VNAPPO@PCVALAW.COM;
PLLC                               DOUMANIAN                           ADOUMANIAN@PCVALAW.COM




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               NAME                           NOTICE NAME                         EMAIL
RAPHAELSON & LEVINE LAW FIRM,       ATTN STEVEN GERSHOWITZ             SGERSHOWITZ@RLLAWYERS.COM
P.C.
ROBINSON + COLE                     ATTN: LAWRENCE KLEIN               LKLEIN@RC.COM
ROPES & GRAY LLP                    ATTN: G. GALARDI, A. DEVORE, U.    GREGG.GALARDI@ROPESGRAY.COM
                                    EGEONUIGWE                         ;

                                                                       ANDREW.DEVORE@ROPESGRAY.CO
                                                                       M;

                                                                       UCHECHI.EGEONUIGWE@ROPESGR
                                                                       AY.COM
SEEGER WEISS LLP                    ATTN STEPHEN A WEISS, MICHAEL      SWEISS@SEEGERWEISS.COM;
                                    ROSENBERG,                         MROSENBERG@SEEGERWEISS.COM
                                    PHILIPPA RATZKI
SIDLEY AUSTIN LLP                   ATTN SAM NEWMAN, KEN KANSA,        SAM.NEWMAN@SIDLEY.COM;
                                    G. WEINER                          KKANSA@SIDLEY.COM;
                                                                       GWEINER@SIDLEY.COM
SILVER & KELMACHTER, LLP            ATTN SAMEER NATH                   SNATH@SILVERKELMACHTER.COM
SLATER SLATER SCHULMAN LLP          ATTN ADAM P. SLATER, LINC C.       ASLATER@SSSFIRM;
                                    LEDER                              LLEDER@SSSFIRM.COM
THE MARSH LAW FIRM, PLLC            ATTN JENNIFER FREEMAN, JAMES       KATIESHIPP@MARSH.LAW;
                                    MARSH, KATIE SHIPP, M. MABIE, B.   JENNIFERFREEMAN@MARSH.LAW;
                                    BERGER                             JAMESMARSH@MARSH.LAW;
                                                                       MARGARETMABIE@MARSH.LAW
THE OFFICE OF THE U.S. TRUSTEE      US FEDERAL OFFICE BUILDING         USTPREGION02.NYECF@USDOJ.GOV
                                                                       ANDREA.B.SCHWARTZ@USDOJ.GOV
THE SIMPSON TUEGEL FIRM             ATTN MICHELLE SIMPSON TUEGEL       MICHELLE@STFIRM.COM
UNITED STATES ATTORNEY'S OFFICE     ATTN ANDREA B SCHWARTZ, ESQ &      PETER.ARONOFF@USDOJ.GOV
FOR SDNY                            TARA TIANTIAN, ESQ
WEITZ & LUXENBERG                   ATTN JERRY KRISTAL                 JKRISTAL@WEITZLUX.COM;
                                                                       INFO@WEITZLUX.COM
WILLIAMS CEDER LLC                  ATTN GERALD J. WILLIAMS, BETH G.   GWILLIAMS@WILLIAMSCEDAR.COM
                                    COLE, SHAUNA L. FRIEDMAN           ; BCOLE@WILLIAMSCEDAR.COM;
                                                                       SFRIEDMAN@WILLIAMSCEDAR.COM




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                                               EXHIBIT 2

     Service by First Class US Mail

A.G. Risk Management Inc.            Aetna Casualty & Surety Company     AIG
Kiumberly Taylor, Sr. Claims         Travelers Casualty and Surety       Christine Smith, Complex Director
Adjuster                             Company, Inc                        AIG Excess Casualty Claims
3 Batterymarch Park                  Edward M. Zawitoski, 2nd V.P.       175 Water Street, 11th Floor
Suite 101                            111 Schilling Road                  New York, NY 10038
Quincy, MA 02169                     Mail Code 9265
                                     Hunt Valley, MD 21301
Alliance Global Corporate &          Allianz Global Risks US Insurance   Allianz Resolution Management
Specialty                            Company                             Amanda Webber, Claims Adjuster
Attn: First Notice of Loss Claims    Amanda Webber, Claims Adjuster      1465 North McDowell Blvd., Suite
Unit                                 1465 North McDowell Blvd., Suite    100
One Progress Point Parkway, 2nd      100                                 Petaluma, CA 94954
Floor                                Petaluma, CA 94954
O'Fallon, MO 63368
American Home Assurance Company      Argonaut Insurance Co.              Atlantic Specialty Insurance
AIG                                  90 Pitts Bay Road                   Company
Christine Smith, Complex Director    Pembroke HM 08 Bermuda              One Beacon Management Liability
AIG Excess Casualty Claims                                               Matthew E. Schweiger, Esq.
175 Water Street, 11th Floor                                             125 South Wacker Dr., Suite 1240
New York, NY 10038                                                       Chicago, IL 60606
Christopher T. Bradley               Chubb Group Holdings, Inc.          Church Mutual Insurance Company
Samuel F. Paniccia                   1133 Avenue of the Americas         3000 Schuster Lane
Marshall Conway Bradley Gollub &     New York, NY 10036                  Merrill, WI 54452-0357
Weissman, P.C.
45 Broadway, Suite 740
New York, NY 10006
Church Mutual Insurance Company      Church Mutual Insurance Company,    Evan Shapiro
PO Box 357                           S.I.                                Michael Marick
Merrill, WI 54452-0357               PO Box 2912                         Skarzynski Marick & Black LLP
                                     Milwaukee, WI 53201-2912            One Battery Park Plaza, 32nd Floor
                                                                         New York, NY 10004
Federal Insurance Company            Gary P. Seligman                    General Star Indemnity Company
Attn: Claims Dept.                   Wiley Rein LLP                      120 Long Ridge Road
15 Mountainview Road                 1776 K Street NW                    Stamford, CT 06902
Warren, NJ 07059-6711                Washington, DC 20006
General Star National Insurance      Great American Insurance Company    Great Atlantic Insurance Company in
Company                              Executive Liability Division        Liquidation
120 Long Ridge Road                  Kathleen T. Van Deven, Esq.         704 N. King Street, Suite 200
Stamford, CT 06902                   Vice President, Claims and          Wilmington, DE 19801
                                     Compliance PO Box 66943
                                     Chicago IL 60666-0943




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Gregory Gennady Plotko                Hallmark Specialty Insurance Co.    Illinois National Insurance Company
CROWELL & MORING LLP                  Two Lincoln Centre                  AIG
590 Madison Ave, 20th Floor           5420 Lyndon B. Johnson Freeway,     Christine Smith, Complex Director
New York, New York 10022              Suite 1100                          AIG Excess Casualty Claims
                                      Dallas, TX 75240-2345               175 Water Street, 11th Floor
                                                                          New York, NY 10038
Jefferson Insurance Company of New    Jeffrey N. Miceli                   Katelin Gorman
York (Allianz)                        Black & Gerngross, P.C.             Clyde & Co US LLP
9950 Mayland Drive                    1617 John F. Kennedy Blvd., Suite   The Chrysler Building
Richmond, VA 23233                    1575                                405 Lexington Avenue, 16th Floor
                                      Philadelphia, PA 19103              New York, NY 10174
Kristina Mangino                      Landmark Insurance Company          Lawrence Klein
Sr. Claim/Coverage Director, Long     RSUI Landmark American Insurance    ROBINSON + COLE
Term Exposure                         Co.                                 Chrysler East Building
CHUBB                                 15303 Ventura Blvd., Suite 500      666 Third Avenue, 20th Floor
10 Exchange Place, 9th Floor          Sherman Oaks, CA 91403              New York, New York 10017
Jersey city, NJ 07302
Magna Carta Companies, Inc.           Mark D. Plevin                      Matthew O. Sitzer
1 Park Avenue, Floor 15               CROWELL & MORING LLP                Shook Hardy & Bacon
New York, NY 10016-5802               Three Embarcadero Center, 26th      111 South Wacker Drive
                                      Floor                               Chicago, IL 60606
                                      San Francisco, California 94111
Motors Insurance Corporation          National Union Fire Insurance       North Star Reinsurance Corporation
500 Woodward Avenue, 14th Floor       Company of Pittsburgh, PA           120 Long Ridge Road
Detroit, MI 48226                     AIG                                 Stamford, CT 06902-1843
                                      Christine Smith, Complex Director
                                      AIG Excess Casualty Claims
                                      175 Water Street, 11th Floor
                                      New York, NY 10038
Philadelphia Indemnity Insurance      Planet Insurance Company            Premia Holdings, Ltd.
Company                               Claims Dept. 5th Floor              c/o Codan Service Limited
Coti Voegtler, Claims Supervisor      Three Benjamin Franklin Parkway     Clarendon House 2 Church Street
One Bala Plaza, Suite 100             Philadelphia, PA 19102              Hamilton, Hamilton, HM 11
Bala Cynwyd, PA 19004                                                     Bermuda
Public Service Mutual Insurance       Rachel A. Jankowski                 Reliance Insurance (In Liquidation)
Company                               CROWELL & MORING LLP                Claims Dept. 5th Floor
1 Park Avenue                         1001 Pennsylvania Avenue, N.W.      Three Benjamin Franklin Parkway
New York, NY 10016-5802               Washington, DC 20004                Philadelphia, PA 19102
Robert W. DiUbaldo, Esq.              Royal Indemnity Co.                 Royal Insurance
Nora A. Valenza-Frost, Esq.           Royal Insurance                     9300 Arrowpoint Blvd.
Nader A. Amer, Esq.                   9300 Arrowpoint Blvd.               Charlotte, NC 28217
CARLTON FIELDS, P.A.                  Charlotte, NC 28217
405 Lexington Avenue, 36th Floor
New York, New York 10174-0002




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RSUI Group, Inc.                     Seaboard Surety                     St. Paul Fire & Marine Insurance
William Nielsen                      5801 Centennial Way                 Company
945 East Paces Ferry Road            Baltimore, MD 21209                 Travelers Casualty and Surety
Suite 1800                                                               Company, Inc
Atlanta, GA 30326-1125                                                   Edward M. Zawitoski, 2nd V.P.
                                                                         111 Schilling Road
                                                                         Mail Code 9265
                                                                         Hunt Valley, MD 21301
St. Paul Insurance Company           StarStone Specialty Insurance Co.   The Monarch Insurance Company of
Travelers Casualty and Surety        StarStone National Insurance Co.    Ohio
Company, Inc                         Attn: Bankruptcy Filings -          120 Long Ridge Road
Edward M. Zawitoski, 2nd V.P.        Collections                         Stamford, CT 06902-1843
111 Schilling Road                   1441 Main Street, Suite 1410
Mail Code 9265                       Columbia, SC 29201
Hunt Valley, MD 21301
Travelers Casualty and Surety        Weitz & Luxenberg, P.C.
Company, Inc                         220 Lake Drive East, Suite 210
Edward M. Zawitoski, 2nd V.P.        Cherry Hill, NJ 08002
111 Schilling Road
Mail Code 9265
Hunt Valley, MD 21301




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